AO 245C         Case     1:11-cr-10044-SOH
                (Rev. 09/11) Amended Judgment in a CriminalDocument
                                                           Case     75             Filed 10/21/14            Page 1(NOTE:
                                                                                                                    of 6 PageID       #: 252
                                                                                                                          Identify Changes with Asterisks (*))
                Sheet 1


                                           UNITED STATES DISTRICT COURT
                          WESTERN                                       District of                                   ARKANSAS
           UNITED STATES OF AMERICA                                                 AMENDED JUDGMENT IN A CRIMINAL CASE
                                V.
                                                                                    Case Number:                  1:11CR10044-01
                     BOBBY ROBERTS                                                  USM Number:                   10755-010
Date of Original Judgment: May 20, 2013                                             Robert L. Depper, Jr.
(Or Date of Last Amended Judgment)                                                  Defendant’s Attorney

Reason for Amendment:
X Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                   G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                    G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                          Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))               G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
G Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                    to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                    G Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
                                                                                      G 18 U.S.C. § 3559(c)(7)
                                                                                    G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
X pleaded guilty to count(s) Three (3) of the Indictment on November 19, 2012.
G pleaded nolo contendere to count(s)
    which was accepted by the court.
G was found guilty on count(s)
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                              Offense Ended                  Count

21 U.S.C. § 841(a)(1)                Distribution of Crack Cocaine                                                10/13/2011                           3
                                     (Class C Felony)



       The defendant is sentenced as provided in pages 2                       6               of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
X Count(s)             1, 2, 4, 5 & 6            G is X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                    October 9, 2014
                                                                                    Date of Imposition of Judgment

                                                                                    /S/ Harry F. Barnes
                                                                                    Signature of Judge
                                                                                    Honorable Harry F. Barnes, Senior United States District Judge
                                                                                    Name and Title of Judge
                                                                                    October 21, 2014
                                                                                    Date
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            (Rev. 09/11)                             Document
                         Amended Judgment in a Criminal Case  75          Filed 10/21/14        Page 2 of 6 PageID #: 253
            Sheet 2 — Imprisonment                                                                      (NOTE: Identify Changes with Asterisks (*))
                                                                                                   Judgment — Page     2         of    6
DEFENDANT:                   BOBBY ROBERTS
CASE NUMBER:                 1:11CR10044-01

                                                          IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of : * Eighty-seven (87) Months, with credit for time served.




G      The court makes the following recommendations to the Bureau of Prisons:




X      The defendant is remanded to the custody of the United States Marshal.

G      The defendant shall surrender to the United States Marshal for this district:
       G      at                                 G    a.m.      G    p.m.      on                                      .

       G      as notified by the United States Marshal.

G      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

       G      before 2 p.m. on                                            .

       G      as notified by the United States Marshal.

       G      as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                         to

at                                                    with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL


                                                                          By
                                                                                            DEPUTY UNITED STATES MARSHAL
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                         Amended Judgment in a Criminal Case  75          Filed 10/21/14          Page 3 of 6 PageID #: 254
             Sheet 3 — Supervised Release                                                                   (NOTE: Identify Changes with Asterisks (*))
                                                                                                       Judgment—Page          3      of         6
DEFENDANT:                  BOBBY ROBERTS
CASE NUMBER:                1:11CR10044-01
                                                      SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :        Four (4) years


        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
X      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
        felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and

13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
        record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the defendant’s
        compliance with such notification requirement.
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            Sheet 3C — Supervised Release                                                (NOTE: Identify Changes with Asterisks (*))
                                                                                       Judgment—Page       4      of         6
DEFENDANT:                 BOBBY ROBERTS
CASE NUMBER:               1:11CR10044-01

                                        SPECIAL CONDITIONS OF SUPERVISION


   1.     The defendant shall, while on supervised release, submit to inpatient or outpatient substance abuse
          evaluation, counseling, testing, and / or treatment as deemed necessary and under direction of the U.S.
          Probation Office.
   2.     The defendant shall, while on supervised release, submit to inpatient or outpatient mental health evaluation,
          counseling, testing, and / or treatment as deemed necessary and under direction of the U.S. Probation
          Office.
   3.     The defendant shall submit his person, residence, and vehicle(s) to a search conducted by the United States
          Probation Office at a reasonable time and in a reasonable manner based upon reasonable suspicion of
          evidence of violation of any condition of supervised release. The defendant shall warn any other residents
          that their premises may be subject to search pursuant to this condition. Failure to submit to a search may be
          grounds for revocation.
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                        Amended Judgment in a Criminal Case  75            Filed 10/21/14       Page 5 of 6 PageID #: 256
           Sheet 5 — Criminal Monetary Penalties                                                          (NOTE: Identify Changes with Asterisks (*))
                                                                                                Judgment — Page        5         of        6
DEFENDANT:                        BOBBY ROBERTS
CASE NUMBER:                      1:11CR10044-01
                                             CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                      Fine                                Restitution
TOTALS           $ 100.00*                                      $    -0-                              $ -0-

* Special Assessment was paid in full on 2/10/2014, per Opera.
G The determination of restitution is deferred until            . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                Total Loss*                       Restitution Ordered                  Priority or Percentage




TOTALS                              $                                      $


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for          G fine       G restitution.
     G the interest requirement for the            G fine   G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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            Sheet 6 — Schedule of Payments                                                                   (NOTE: Identify Changes with Asterisks (*))
                                                                                                         Judgment — Page       6      of        6
DEFENDANT:                 BOBBY ROBERTS
CASE NUMBER:               1:11CR10044-01

                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    X Lump sum payment of $            100.00               due immediately, balance due

          G not later than                                       , or
          X in accordance with G C,              G D,      G     E, or    X F below; or
B    G Payment to begin immediately (may be combined with                G C,        G D, or      G F below); or
C    G Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                         (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    X Special instructions regarding the payment of criminal monetary penalties:
          If not paid immediately, any unpaid financial penalty imposed shall be paid during the period of incarceration at a rate of not less than
          $25.00 quarterly, or 10% of the defendant’s quarterly earnings, whichever is greater. After incarceration, any unpaid financial
          penalty shall become a special condition of supervised release and may be paid in monthly installments of not less than 10% of the
          defendant’s net monthly household income, but in no case less than $25.00 per month, with the entire balance to be paid in full one
          month prior to the termination of supervised release.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and corresponding
     payee, if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
